         Case 1:13-cr-00136-DAD-BAM Document 436 Filed 03/10/17 Page 1 of 2
PROB 35 (ED/CA)

                      Report and Order Terminating Supervised Release
                              Prior to Original Expiration Date


                                  UNITED STATES DISTRICT COURT
                                                    FOR THE


                               EASTERN DISTRICT OF CALIFORNIA

      UNITED STATES OF AMERICA                         )
                                                       )
                             v.                        )
                                                       )       Docket No.: 1:13CR00136-005 AWI
                      Chanrou Yath                     )
                                                       )
                                                       )


On December 1, 2014, the above-named supervisee was sentenced to the custody of the Bureau
of Prisons for a period of 37 months and to a term of Supervised Release for a period of 3 years.
Supervision commenced on December 24, 2015.


The supervisee has complied with the rules and regulations of Supervised Release and is no
longer in need of supervision. It is accordingly recommended that the supervisee be discharged
from supervision.


                                            Respectfully submitted,

                                            /s/ Marlene K. DeOrian
                                              Marlene K. DeOrian
                                       Sr. United States Probation Officer



Dated:            March 8, 2017
                  Fresno, California
                  MKD

                              /s/ Tim D. Mechem

REVIEWED BY:                   Tim D. Mechem
                               Supervisory United States Probation Officer

                                                           1
                                                                                                           Rev. 06/2015
                                                                             EARLY TERMINATION ~ ORDER (PROB35).DOTX
         Case 1:13-cr-00136-DAD-BAM Document 436 Filed 03/10/17 Page 2 of 2
PROB 35 (ED/CA)



Re:        Chanrou Yath
           Docket No: 1:13CR00136-005 AWI
           Report and Order Terminating Supervised Release
           Prior to Original Expiration Date




                                    ORDER OF COURT

Pursuant to the above report, it is ordered that Chanrou Yath be discharged from Supervised
Release, and that the proceedings in the case be terminated.

IT IS SO ORDERED.

Dated: March 10, 2017
                                          SENIOR DISTRICT JUDGE




                                                2
                                                                                                 Rev. 06/2015
                                                                   EARLY TERMINATION ~ ORDER (PROB35).DOTX
